                      Case 2:05-cr-00122-DC Document 134 Filed 02/14/19 Page
                                                                          Page       1 of 1
AO 247 (Rev. 11/11) Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)
                                                                             1 of 2 (Page 2 Not for Public Disclosure)


                                      UNITED STATES DISTRICT COURT
                                                                        for the
                                                      Eastern          District of        California

                    United States of America
                               v.                                          )
                                                                           )    Case No:       2:05cr00122-1
                      TALTON ROBINSON                                      )
                                                                           )    USM No: 15657-097
Date of Original Judgment:         6/19/06                                 )
Date of Previous Amended Judgment:                                         )    David Porter, Assistant Federal Defender
(Use Date of Last Amended Judgment if Any)                                      Defendant’s Attorney

                  ORDER REGARDING MOTION FOR SENTENCE REDUCTION
                    PURSUANT TO SECTION 404 OF THE FIRST STEP ACT
        Upon motion of        the defendant      the Director of the Bureau of Prisons       the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion, and taking into account the policy statement set forth at USSG §1B1.10
and the sentencing factors set forth in 18 U.S.C. § 3553(a), to the extent that they are applicable,
IT IS ORDERED that the motion is:
              DENIED.        GRANTED and the defendant’s previously imposed sentence of imprisonment (as reflected in
the last judgment issued) of        262              months is reduced to              188 months              .
                                              (Complete Parts I and II of Page 2 when motion is granted)




Except as otherwise provided, all provisions of the judgment dated                             6/19/06             shall remain in effect.
IT IS SO ORDERED.

Order Date:                     2/14/19
                                                                                                         Judge’s signature


Effective Date:                                                                GARLAND E. BURRELL, JR. U.S. DISTRICT JUDGE
                     (if different from order date)                                                    Printed name and title
